                     Case
                      Case1:23-cr-00239-CKK
                            1:22-mj-01279-UA Document
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                                                            Duration: 51


DOCKET No. ~2~2~M~a.._.g~.1_2~79~------                                DEFENDANT Ilya Lichtenstein


AUSA Maggie Lynaugh                                                    DEF.'S COUNSEL ....A-n,..,ir..,.u...d'"h....,B""'a...n...,sa..._I~-~------
                                                                       lll RETAINED • FEDERAL DEFENDERS O CJA O PRESENTMENT ONLY
• ________ INTERPRETER NEEDED
                                                                                 • DEFENDANT WAIVES PRETRIAL REPORT
D Rule 5 D Rule 9 Ill Rule 5(c)(3) D Detention Hrg.                         DATE OF ARREST 2/8/2022       • VOL.SURR.
                                                                            TIME OF ARREST =7·00 am       • ON WRIT
D Other:                                                                    TIME OF PRESENTMENT 5:00 nm
             ---------------
                                                               BAIL DISPOSITION
                                                                              • SEE SEP. ORDER
• DETENTION ON CONSENT W/0 PREJUDICE       • DETENTION: RISK OF FLIGHT/DANGER O SEE TRANSCRIPT
•• DETENTION  HEARING SCHEDULED FOR:
   AGREED CONDITIONS OF RELEASE      - - - - - -- - -
 • DEF. RELEASED ON OWN RECOGNIZANCE
Ill $ 5 million BOND  Ill __5_FRP
Ill SECURED BY $_ _ _ _ _ _ CASH/PROPERTY: property: parents' residence, at 1845 Westleigh Dr., Glenview JI 60025
lllTRA VEL RESTRICTED TO SONY/EDNY/ District of Columbia, and points in between for purposes of travel to Court
• TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
lllSURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

• PRETRIAL SUPERVISION: • REGULAR Ill STRICT • AS DIRECTED BY PRETRIAL SERVICES
Ill DRUG TESTING/TREATMT AS DIRECTED BY PTS Ill MENTAL HEALTH EV AL/TREATMT AS DIRECTED BY PTS
• DEF.TO SUBMIT TO URINALYSIS; lF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT
Ill HOME INCARCERATION • HOME DETENTION • CURFEW • STAND ALONE MONITORING
Ill LOCATION MONITORING TECHNOLOGY AS DIRECTED BY PTS      • GPS
Ill DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES
• DEF.TO CONTINUE OR SEEK EMPLOYMENT [OR] • DEF.TO CONTINUE OR START EDUCATION PROGRAM
• DEF.NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON
Ill DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
• DEF.TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: - - - - - - - - - -
_ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ __,· REMAINING CONDITIONS TO BE MET BY: _ _ _ __

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

Defendant to have no devices with internet connectivity except one specific device, with software installed by PTS, with
computer monitoring
Def not to engage in any cryptocurrency transctions
Def not to dissipate or move any assets greater than $10,000 per month (except that this cap can be exceeded with PTS
approval). There is a carve-out for legal fees, for which the Def can spend up to $500,000; accounts to dispense must be
reported to PTS.


•• DEF.
   DEF.ARRAIGNED; PLEADS NOT GUILTY
        WAIVES INDICTMENT
                                                            • CONFERENCE BEFORE DJ. ON - - - - - -
 • SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 316l(h)(7) UNTIL _ _ _ __
For Rule 5(c)(3) Cases:
Ill IDENTITY HEARING WAIVED                                         • DEFENDANT TO BE REMOVED
Ill PRELIMINARY HEARING IN SONY WAIVED                              • CONTROL DATE FOR REMOVAL: - - - - - -
PRELIMINARY HEARING DATE: 2/22/2022                                    Ill ON DEFENDANT'S CONSENT

DATE: 2/8/2022
                                                                                  UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
Yllilif (original)- COURT FILE        ,flliK- U.S. ATTORNEY'S OFFICE           YELLQ.Y,', - U.S. MARSHAL          illlElli: - PRETRIAL SERVICES AGENCY
Rev'd 2016
